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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-1381V
                                        (not to be published)


    MEGAN LYNAGH,
                                                                Chief Special Master Corcoran
                         Petitioner,
    v.                                                          Filed: July 12, 2022


    SECRETARY OF HEALTH AND                                     Special Processing Unit                 (SPU);
    HUMAN SERVICES,                                             Attorney’s Fees and Costs


                         Respondent.


Leah VaSahnja Durant, Law Offices of Leah V. Durant, PLLC, Washington, DC, for
Petitioner.

Sarah Black Rifkin, U.S. Department of Justice, Washington, DC, for Respondent.

                       DECISION ON ATTORNEY’S FEES AND COSTS 1

      On September 11, 2019, Megan Lynagh filed a petition for compensation under
the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration from an influenza vaccine she received on October 31, 2017. (Petition at
¶1). On October 15, 2021, a decision was issued awarding compensation to Petitioner
based on the Respondent’s proffer. (ECF No. 41).


1
   Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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        Petitioner has now filed a motion for attorney’s fees and costs, dated May 2, 2022
(ECF No. 47), requesting an award of $32,592.50 (representing $31,149.90 in fees and
$1,442.60 in costs). Petitioner also requests $7,379.80 in fees and $80.91 in costs
incurred by Petitioner’s former counsel, The Law Office of Robert J. Krakow, P.C. (Id. at
1). In accordance with General Order No. 9, Petitioner filed a signed statement indicating
that Petitioner incurred out-of-pocket expenses in the amount of $429.85. (Id at 2).
Respondent reacted to the motion on May 3, 2022, indicating that he is satisfied that the
statutory requirements for an award of attorney’s fees and costs are met in this case, but
deferring determination of the amount to be awarded at the Court’s discretion. (ECF No.
48). Petitioner filed her Reply on May 4, 2022, requesting “that the Court award petitioner
all fees and costs requested in Petitioner’s Application”. (ECF No. 49).

       I have reviewed the billing records submitted with Petitioner’s request. In my
experience, the request appears reasonable, and I find no cause to reduce the requested
hours or rates.

       The Vaccine Act permits an award of reasonable attorney’s fees and costs. Section
15(e). Accordingly, Petitioner is awarded the total amount of $40,483.06 3 as follows:

            •   A lump sum of $32,592.50, representing reimbursement for attorneys’
                fees and costs, in the form of a check payable jointly to Petitioner and
                Petitioner’s counsel, Leah VaSahja Durant and

            •   A lump sum of $7,460.71, representing reimbursement for attorneys’
                fees and costs, in the form of a check payable jointly to Petitioner and
                Petitioner’s counsel, Robert J. Krakow; and

            •   A lump sum of $429.85, representing reimbursement for Petitioner’s
                costs, in the form of a check payable to Petitioner.

      In the absence of a timely-filed motion for review (see Appendix B to the Rules of
the Court), the Clerk shall enter judgment in accordance with this decision. 4


3
  This amount is intended to cover all legal expenses incurred in this matter. This award encompasses all
charges by the attorney against a client, “advanced costs” as well as fees for legal services rendered.
Furthermore, § 15(e)(3) prevents an attorney from charging or collecting fees (including costs) that would
be in addition to the amount awarded herein. See generally Beck v. Sec’y of Health & Human Servs., 924
F.2d 1029 (Fed. Cir.1991).
4
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by filing a joint notice
renouncing their right to seek review.
                                                    2
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IT IS SO ORDERED.

                                        s/Brian H. Corcoran
                                        Brian H. Corcoran
                                        Chief Special Master




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